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UN|TED STATES OF AN|ER!CA
P|aintiff

VS.
CR. NO. 04-20435-B

WEsLEY oA\/ls (b)

Defendant.

 

ORDER ON CONT|NUANCE AND SF’EC|FY!NG PER|OD OF EXC|_UDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on l\/larch 28, 2005. At that time, counsel for
the defendant requested a change of plea date.

The Court granted the request and set the change of plea date of Apri| 26, 2005.
The Court subsequently re-set the change of plea date to l\/lay 9, 2005, and later granted
a Motion to Continue and re-set the change of plea date to Tuesdav. Mav 24. 2005 at

2:00 p.m., in Courtroom 1, 11th Floor of the Federal Bui|ding, l\/lemphis1 TN.

 

The period from Apri| 26, 2005 through June 17, 2005 is excludable under 18
U.S.C. § 3161(h)(8)(B)(iv)becausethe ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy trial.

|T |S SO ORDERED this /_rzcg\ da Of ay, 2005.

 

UN|EL BREEN %\‘
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This document entered on the docket sheet |n cognizance
with Flul e 55 and/or 32(i:)) FRCrP on <

 

   

UNITED sTATE DISTRIC COUR - WETERN D's'TRCT oFTENNESSEE

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This notice confirms a copy of the document docketed as number 36 in
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Honorable J. Breen
US DISTRICT COURT

